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EXHIB|T 1

CaS€ 1215-CV-00569-BLW

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Attomeys for Plaintiff

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IN THE DlSTRICT COURT OF THE FOURTH JUDlCIAL DISTRICT OF THE
STATE OF lDAHO, IN AND FOR THE COUNTY OF ADA

DIANE PAGE,
Plaintifi`,
v_

PRINCIPAL L[FE lNSURANCE COMPANY.
an lowe corporation,

Def€ndant.

 

 

CaseNo. CV GC 151873?

COMPLA[N'I` AND I}EMAND FOR
JURY TRIAL

Fee Category: A.A.
Fee: $22¥_00

Plaintif`f Diane Page (“Plaintit`f“), by and through her attorneys of record, Brady Law,

Chartered, as and for a Complaint against Def`endant Principal L-if`e insurance Company

(“Defendant”), pleads and alleges as follows:

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PARTIES
l. Plaintiff Diane Page is now, and at all times relevant hereto was, a resident of
Midd|eton, Canyon County, ldahc.
2. Defenda.nt Principal Life lnsurance Cornpany is an lowa corporation authorized

and licensed to conduct insurance business in the state of Idaho.
JURISDICTION AND VENUE
3. .lurisdiction is proper in this Court pursuant to fdaho Code §§ 1-705 and 5-514,
and the amount in controversy exceeds the jurisdictional minimum limits of this Court of
$10,000.00.

4. Venue is proper in this Court pursuant to fdaho Code § 5-404.

FACTS
5. Plaintii`t`repleads and realleges each and every allegation contained hereinabove
6. Eti`ective September 01, 2005, Plaintiff was enrolled for coverage under a

Principai Life lnsurance Cornpany Policy. Contract No. H48958, Policy No. GC P9?650-7 (the
“Principal Life policy"). As an Enrollee or an enrolled Eligible Dependent, Plaintiff was an
insured under the Principal Life policy.

?. 'l`he Principal Life policy provides Long-Term Disabiiity coverage

S. Plaintift` has been diagnosed as having_. among other things, vertigo, restless leg
syndrome, vestibular migraine headaches and a brain lesion.

9. Plaintif`f experiences chronic and unpredictable dizziness, decreased balance,

confusion in certain surroundings, and migraine headaches

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lO. Plaintiff also experiences difficulties in formulating sentences and communicating
coherently, as well as memory and sleep difficulties

ll. On lane 25, 2012, Def`endant determined that Plaintiff` was disabied, as defined
within the poiicy.

12. On .Iune 25, 2012, Defendant determined that Plaintit`t` was unable to perform her
job as a Human Resource Associate.

13. On Juiy 8, 2014, Defendant sent Plaintiff a letter indicating that Plaintil`i` would no
longer pay Plaintif`t` Long Term Disability & Life Coverage During Disability benefits beyond
September 30, 2014.

14. No doctor has stated in any report that Plaintift` is malingering

]5_ Defendant’s stated reason was that Plaintii`t"s condition no longer met the
definition of disability because Plaintit`t` allegedly was capable of performing a Sedentary

Occupation.

16. Hurnan Resource Associate falls under the definition of a Sedentary Occupation.
l'!. The Principal Life policy provides in part:

Residuai Disability; Residually Disabled

A Member who is working on a limited or part-time basis and solely and
directly because of sickness or injury:

a. During the first 30 months. including the Waiting Period.:

i. is unable to perform the Essential Functions of the
Member’s Regular Occupation;

and

ii, is unable to earn more than 70% of the Member’s Monthiy
Sala.ry; and

b. after completing the first 30 months. including the Waiting Period,:

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i. is unable to perform the Essential Functions of any occupation
for which the Member is or may reasonably become qualified based on
education, training or experience; and

ii. is unable to earn more than 60% of the Member's Monthly
Salary.
Total Disability; Totally Disahled

A Member who is not Working for wage or profit and solely and directly
because of sickness or inj ury:

a. during the first 30 months of such Tota] Disability:

i. is unable to perform the Essentia| Functions of the Member’s
Regular Occupation;

and

ii. is unable to earn more than 70% of the Member’s Monthly
Salary; and

b. after completing the first 30 months of such Total Disability:

i. is unable to perform the Essential Functions of any occupation
for which the Member is or may reasonably become qualified based on
education, training or experience; and

ii. is unable to earn more than 60% of the Member`s Monthly
Salary.
18. The occupations that Defendant suggested Flaintiff could work in were "Copy

Writer, Critic, Editorial Writer, Floral Designer, Clothes Designer. lnterior Designer, Iilustrator,
Merchandise Displayer, Laboratory Clerk, Mailer, Meter Reader, General Clerl<, File Clerk,
Office Helper, 'l`eacher Aide 2, lnsurance Checker. Medical Record Technician, Reservation
Clerk_. Mail Carrier, Parcel Post & Personnel Clerk to name a few."

19. Defendant stopped paying benefits to Plaintiff on Septernber 30. 2014.

20. On January 5, 2015 Plaintiff sent a letter to Defendant formally requesting that
Defendant review its decision regarding the termination of Plaintiff`s disability benefits

?.l. On lanuary 8, 2015, Defendant sent a letter to Plaintiff indicating that Defendant

would make the mandatory appeal decision by February 19, 2015.

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22. On February 2015, Defendant sent a letter to Plaintiff indicating that Defendant
would make the mandatory appeal decision by April 4, 2015.

23. On March 19, 2015, Defendant sent a letter to Plaintiff indicating that Defendant
would make the mandatory appeal decision by May l, 2015.

24. On May 5, 2015, Defendant sent a letter to Plaintif`f reaffirming the denial of
Plaintiff’s claim.

25. On May 29, 20l5, Plaintift` sent a letter to Def`endant formally requesting a
voluntary appeal

26. On lune 4, 2015, Defendant sent a letter to Plaintiff indicating the voluntary
appeal decision would be made by iuly l3, 2015.

27. On July lO, 2015, Defendant sent a letter to Plaintiff indicating voiuntary appeal
decision would be made by August 23, 2015.

28. On August 2 l, 2015, Defendant sent a letter to Plaintiff indicating that Defcndant
would continue its investigation ‘“outside the formal timelines” and gave no date as to when the
voluntary appeal decision would be made.

29. On October 7, 20l5, Defendant sent a letter to Plaintifl` indicating that any
additional information submitted between October 7, 2015 and an unknown future date wherein
Defendant would complete Def`endant’s decision would cause delay of said decision.

30. On October l4‘ 20l5, Defendant mailed a letter to Plaintiff, which was received
on October i9. 20l 5. denying Plaintiff`s voluntary appeal

3|. Plaintilf meets the Principal Life policy`s definition of a Member who is "totally
disabled.”

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COUNT l
(MLO_LQM£)

32. Plaintit`f repleads and realleges each and every allegation contained hereinabove

33. Plaintil`f has performed all obligations required to be performed by her under the
Principal Lit`e poiicy.

34. Defendant's continual refusals to provide insurance coverages to Plaintift` under
the Principal Life policy, and continual refusals to pay any insurance claims to Plaintil`t` under the
Principal Lit`e policy were unjustified and constitute a breach of contract

35. Det`endant has failed to thoroughly investigate Plaintift’ insurance claims, has
failed to evaluate Plaintit`l’ insurance claims objectively in order to delay and deny payment of
Plaintif`t" insurance claims, has used improper standards and procedures to delay and deny
PIaintift` insurance claims. has intentionally and unreasonably delayed and denied payment ot`
Piaintilt’ insurance claims, has engaged in deceptive and dilatory claims handling practices in
order to delay and deny payment of Plaintit`f" insurance claims._ which constitute a breach ot`
contract

36. As a direct and proximate result of said breach of contract, Plaintiff has sustained
substantial compensatory losses and other incidental economic losses and damages in excess of
$10,000.00_

37. Plaintif`t` is entitled to an award of` compensatory damages both economic and

non-economic, in an amount to be proven at trial.

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COUNT II
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38. Plaintiff repleads and realieges each and every allegation contained hereinabove

39. Plaintitl` has performed all obligations required to be performed by her under the
Principal Life poiicy.

40. Defendant’s continual refusals to provide insurance coverages to Plaintiff under
the Principal Life policy, and continual refusals to pay any insurance claims to Plaintiff under the
Pn`ncipal Life policy, are unjustified and constitute a breach of the implied covenant of good
faith and fair dealing in the Principal Life policy.

4l_ Defendant has failed to thoroughly investigate Plaintiff`s insurance claims, has
failed to evaluate Plaintitl`s insurance claims objectively in order to delay and deny payment of
Plaintift’s insurance ciaims, has used improper standards and procedures to delay and deny
Plaintift‘s insurance claims. has intentionally and unreasonably delayed and denied payment of
Plaintift"s insurance claims, and has engaged in deceptive and dilatory claims handling practices
in order to delay and deny payment of Plaintif’l`s insurance claims, which constitute a breach of
the covenant of good faith and fair dealing.

42. As a direct and proximate result of said breach of the covenant of good faith and
fair dealing, P|aintit`f has sustained substantial compensatory losses and other incidental
economic losses and damages in excess of $l 0,000.00.

43. Plaintiff is entitled to an award of compensatory damages, both economic and

non-economic, in an amount to be proven at trial.

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COUNT Ill
(Bad Faith)
44. Plaintiff repleads and realleges each and every allegation contained hereinabove
45, PiaintiiT has performed all obligations required to be performed by her under the
Principal Life policy.
46. Defendant has failed to thoroughly investigate Plaintifl‘s insurance ciaims. has
failed to evaluate Plaintift`s insurance claims objectively in order to delay and deny
payments of Plaintiff`s insurance claims, has used improper standards and procedures to
delay and deny payment of Piaintifi`s insurance claims, has intentionally and
unreasonably delayed and denied payment of Plaintif`t”s insurance claims, and has
engaged in deceptive and dilatory claims practices handling in order to delay and deny
payment of Plaintiff‘s insurance claims Plaintiff’s insurance claims are not fairly
debatable, the conduct of Det`endant delaying and denying payment of Plaintiff's
insurance claims was unreasonable and intentional and not due to or caused by an honest
mistake by Defendant, and constitutes the ton of bad faith.
47. Defendant, as an insurer, stands in a fiduciary or quasi fiduciary relationship with
Plaintil`f. Plaintif`f’s insurance claims were not fairly debatable 'l`he conduct of
Defendant in delaying and denying payment of Plaintift` s insurance claims was
intentional and unreasonable and was not due to or caused by an honest mistake, and
constitute the tort of bad faith. Defendant‘s investigation and claims handling practices
were designed to deprive Plaintii`l`of the insurance coverages owed to Plaintit`f under the

Principal Life policy and such practices constitute the tort of bad faith.

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48. As a direct and proximate result of Defendant’s bad faith, Plaintiff has sustained
substantial compensable losses and other incidental economic losses and damages in
excess of 310,000.00-
49. Plaintiff is entitled to an award of extra-contractual damages, both economic and
non-economic, in an amount to be proven at trial.
PUNITIVE DAMAGES
Plaintiff reserves the right to file a Motion before this Court to amend this Complaint to
seek recovery of punitive damages pursuant to Idaho Code § 6-1604.
ATTORNEY FEES
Plaintiff has been required to retain the law firm of Brady Law, Chartered, and will incur
attorney fees as a result thereof, which anomey fees may be awarded pursuant to fdaho Code §
41-1339.
PRAYER FOR RELIEF
WHEREFORE, P|aintiff prays for judgment against Defendant as follows:
l. For compensatory damages, both economic and non'economic, in an amount to
be proven at trial;
2. For extra-contractual damages both economic and non-economic, in an amount to
be proven at trial;
3. For reasonable attorney fees incurred pursuant to Idaho C.'ode § 41-1839;
4. For all costs and expenses necessarily incurred in prosecuting this action pursuant
to ldaho Rules ofCivi'l Procedure‘ Rule 54; and,
5. For such other and further relief as this Court deems just and proper.

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DEMAND FOR JURY TR]AL
Plaintiff hereby demands a jury trial, pursuant to ldcon Ru!es of Cc'vr'l Procedure, Rule
38(b).
iL
DATED this Zal day of 0ctober, 2015.

BRADY LAW_. CHARTERED

<»@~»;/l%é.]/~»

By: Daniel R. Page /
Attomeys for Plaintiff

 

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Attorneys for Plaintiff

IN THE DISTRICT COURT OF THE FOURTI-I JUDICIAL DISTR_lCT OF THE
STATE OF IDAHO, fN AND FOR THE COUNTY OF ADA

omle PAGE, case No. CV 0 C 15 18 7 3 7
Plainurr, sUMMoNs

V.

PRINCIPAL LIFE INSURANCE COMPANY,
an Iowa corporation,

Defendant.

 

 

NOTICE: YOU HAVE BEEN SUED BY 'I`HE ABOVE-NAMED PLAINTIFF. THE
COURT MAY ENTER JUDGMENT AGAINST YOU WITHOUT
FUR'I`HER NOTICE UNLESS YOU RESPOND WITHIN 20 DAYS. READ
THE INFORMA'I`ION BELOW.

TO: PRINCIPAL LIFE INSURANCE COMPANY

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You are hereby notified that in order to defend this lawsuit, an appropriate written
response must be filed with the above designated Court within twenty (20) days after service of
this Summons on you. If you fail to so respond the court may enter judgment against you as
demanded by the Plaintiff in the Complaint.

A copy of the Complaint is served with this Summons. lf you wish to seek the advice or
representation by an attorney in this case, you should do so promptly so that your written
responsc, if any, may be filed in time and other legal rights protected.

An appropriate written response requires compliance with Ruie lO(a)(l) and other ldaho
Rules ofCt'vil Procedure and shall also include:

l. The title and number of the case.

2. [f your response is an Answer to the Contplaint, it must contain
admissions or denials of the separate allegations of the Complaint and other defenses you may
claim.

3. Your signature, mailing address and telephone number, g the signature,
mailing address and telephone number of your attorney.

4, Proof of mailing or delivery of a copy of your response to Plaintiif
attomey, as designated above.

To determine whether you must pay a filing fee with your responsc, contact the Clerk of
the above-named court mg '
tail

DATED this n clay ofOctober, 2015.

CLERK OF THE DISTRICT COURT

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By STACEY LAFFERTY¢»`
Deputy Clerl< "~'~§<z\
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SUMMONS -» Page 2
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